    Case 1:11-cr-00027-IMK-MJA Document 724 Filed 07/17/13 Page 1 of 6 PageID #: 3625
A0 245D      (Rev. 09/08) Judgment in a Criminal Case for Revocations
             Sheet I                                                                                                  fl       17 )fll

                                    UNITED STATES DISTRICT                                  CouRT CILS.DI 111Ff’ OLRT
                                                                                                     RKS C     ‘ 63OI
                   NORTHERN                                  District of                           WEST VIRGINIA

        UNITED STATES OF AMERICA                                        Judgment in a Criminal Case
                            v.                                          (For Revocation of Probation or Supervised Release)

              JONATHAN M. PEET
                                                                        Case No.                      1:11 CR027- 17
                                                                        USM No.                       07749-087
                                                                        Brian J. Kornbrath
                                                                                               Defendant’s Attorney
THE DEFENDANT:
X admitted guilt to violation of            Mand Cond No I, Stand Cond Nos 2& 7         of the term of supervision.

LI was found in violation of__________________________________________ after denial of guilt.
The defendant is adjudicated guilty of these violations:
Violation Number                 Nature of Violation                                                        Violation Ended
1. Mand. Cond. No.1              Urine Specimen Confirmed Positive for Morphine                             01/18/2013
2. Stand. Cond. No. 7
3. Mand. Cond. No. 1             Urine Specimen Positive for Opiates. Admission to Heroin Use               01/30/2013
4. Stand, Cond. No. 7
5. Mand. Cond. No. 1             Failure to Provide Urine Specimen. Admission to Heroin Use                 02/08/20 13
6. Stand. Cond. No, 7
7. Stand. Cond. No. 2            Failure to Complete a Written Monthly Report for January 2013              01/31/2013
8. Mand. Cond No, I              Urine Specimen Positive for Opiates. Admission to Heroin Use               05/22/20 13
9. Stand. CondNo. 7
       The defendant is sentenced as provided in pages 2 through             6      of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
LI The defendant has not violated condition(s)                                   and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in
economic circumstances.

Last Four Digits of Defendant’s Soc. Sec. No.:             0071                                         07/15/2013
                                                                                                         p                 g
Defendant’s Year of Birth           1985

City and State of Defendant’s Residence:                                                              Signature of Judge
                        Clarksburg, WV
                                                                                   Honorable Irene M. Keeley, U.S. District Court Judge



                                                                                      2z€€
                                                                                                  Name and Title of Judge

                                                                                                         atC3
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AO 245D      (Rev. 09/08) Judgment in a Criminal Case for Revocations
             Sheet 2   —   Imprisonment
                                                                                                Judgment   Page   2    of         6
DEFENDANT:                  JONATHAN M. PEET
CASE NUMBER:                1:1 1CR027-17
                                                             IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:     4 months with credit for time served from 02/08/13 to 02/13/13 and from 05/30/13 to present




  X The court makes the following recommendations to the Bureau of Prisons:
        x    That the defendant be incarcerated at an FCI or a facility as close to home in Clarksburg, WV as possible;
             U and at a facility where the defendant can participate in substance abuse treatment, including the 500-Hour
                    Residential Drug Abuse Treatment Program, as determined by the Bureau of Prisons.




        LI   That the defendant be allowed to participate in any educational or vocational opportunities while incarcerated, as
             determined by the Bureau of Prisons.
    Pursuant to 42 U.S.C. § 14135A, the defendant shall submit to DNA collection while incarcerated in the Bureau of Prisons,
  U or at the direction of the Probation Officer.

  X The defendant is remanded to the custody of the United States Marshal.
   LI The defendant shall surrender to the United States Marshal for this district:

        U    at                                  U     am.     U   p.m.     on

        U    as notified by the United States Marshal.

   U The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        U    before 2 p.m. on
        U    as notified by the United States Marshal.

        U    as notified by the Probation or Pretrial Services Office.

        U    on                                  as directed by the United States Marshals Service.
                                                                    RETURN

 I have executed this judgment as follows:


        Defendant delivered on                                                          to

   at                                        ,       with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                          By
                                                                                         DEPUTY UNITED STATES MARSHAL
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AO 245D           (Rev. 09/08) Judgment in a Criminal Case for Revocations
                  Sheet 3 —  Supervised Release
                                                                                                        Judgment—Page          3      of        6
DEFENDANT:                    JONATHAN M. PEET
CASE NUMBER:                  1:11 CR027- 17
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:                           36 months


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court.
fl        The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
LI        The above drug testing condition is suspended, based on the court’s determination that this condition has been satisfied during
          a previous term of supervision. (Check, if applicable.)
X         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

LI        The defendant shall cooperate in the collection of DNA as directed by the probation officer unless previously collected by the
          Bureau of Prisons. (Check, if applicable.)
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et.
          seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
LI        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is be a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)    the defendant shall support his or her dependents and meet other family responsibilities;
     5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
     6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
           controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
            a felony, unless granted permission to do so by the probation officer;
 10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
 11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and
 13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
            record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant’s compliance with such notification requirement.
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AO 245D      (Rev. 09/08) Judgment in a Criminal Case for Revocations
             Sheet 4—   Special Conditions
                                                                                                       Judgment—Page      4     of        6
DEFENDANT:                                                                        JONATHAN M. PEET
CASE NUMBER:                                                                      1:1 1CR027-17

                                          SPECIAL CONDITIONS OF SUPERVISION

1.         The defendant shall not purchase, possess, or consume alcohol during the term of supervision.
2.         The defendant shall participate in a program of testing, counseling and treatment for use of alcohol or drugs if so ordered by the
           Probation Officer.
3.         The defendant shall not enter any gambling establishments.
4.         The defendant shall not enter any bars or other establishments where the primary purpose is to sell alcohol.
5.         The defendant shall submit to monthly drug testing, or as deemed appropriate by the Probation Officer.
6.         The defendant shall submit his or her person, property, house, residence, vehicle, papers, [computers (as defined in 18 U.S,C,
           103 0(e)( 1)), other electronic communications or data storage devices or media?] or office, to a search conducted by a United States
           probation officer. Failure to submit to a search may be grounds for revocation of release. The defendant shall warn any other
           occupants that the premises may be subject to searches pursuant to this condition. An officer may conduct a search pursuant to this
           condition only when reasonable suspicion exists that the defendant has violated a condition of his supervision and that the areas to
           be searched contain evidence of this violation. Any search must be conducted at a reasonable time and in a reasonable manner.
7.         The defendant must enter into the Chestnut Ridge Center West Virginia University Healthcare, suboxone program.
                                                                        -




         Upon a finding of a violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
extend the term of supervision, and/or (3) modify the conditions of supervision.
           These standard and/or special conditions have been read to me. I fully understand the conditions and have been provided a copy
of them.



           Defendant’s Signature                                                     Date



           Signature of U.S. Probation Officer/Designated Witness                              Date
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AO 245D       (Rev. 09/08) Judgment in a Criminal Case for Revocations
              Sheet 5—   Criminal Monetary Penalties

                                                                                                            Judgment—Page           5   of      6
DEFENDANT:                           JONATHAN M. PEET
CASE NUMBER:                         1:11 CR027- 17
                                                 CRIMINAL MONETARY PENALTIES

       The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.

                         Assessment                                            Fine                                   Restitution
TOTALS              $                                                     $                                       $



Li     The determination of restitution is deferred until                     An Amended Judgment in a &iminal Case (AO 245 C) will be entered
       after such determination.

Li     The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

       The victim’s recovery is limited to the amount oftheir loss and the defendant’s liability for restitution ceases if and when the victim receives
       full restitution.

 Name of Payee                                   Total Loss*                           Restitution Ordered                     Priority or Percentage




                                                                                      $__________________
 TOTALS                                  $




 Li      Restitution amount ordered pursuant to plea agreement $

 LI      The defendant must pay interest on restitution or a fine more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
         subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

  LI     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          LI the interest requirement is waived for the             Li fine        Li restitution.

          Li the interest requirement for the          Li    fine        Li restitution is modified as follows:
  *
   Findings for the total amount of losses are required under Chapters 1 09A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
  September 13, 1994, but before April 23, 1996.
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AO 245D    (Rev. 09/08) Judgment in a Criminal Case for Revocations
           Sheet 6— Schedule of Payments

                                                                                                           Judgment   —   Page   6   of      6
DEFENDANT:                 JONATHAN M. PEET
CASE NUMBER:               1:11 CR027- 17
                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    LI   Lump sum payment of$                                   due immediately, balance due

          LI not later than                                           ,   or
          LI in accordance with        LI C,       LI D,       LI E, LI F, or LI G below); or
B    LI   Payment to begin immediately (may be combined with                   LI C,   LI D,    LI F, or   LI G below); or
C    LI Payment in equal                     (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                         (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    LI   Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                       (e.g., months or years), to commence                  (e.g., 30 or 60 days) after release from imprisonment to a
          tem of supervision; or

E    LI   Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at this time; or

F    LI   Special instructions regarding the payment of criminal monetary penalties:
          Financial obligations ordered are to be paid while the defendant is incarcerated, and if payment is not completed during
          incarceration, it is to be completed by the end of the term of supervised release; or


G    LI   Special instructions regarding the payment of criminal monetary penalties:
          The defendant shall immediately begin making restitution and/or fine payments of                     per month, due on the first
                                                                                                     $_________________




          of each month. These payments shall be made during incarceration, and if necessary, during supervised release.

Unless the court has expressly ordered otherwise in the special instruction above, ifthis judgment imposes imprisonment, payment of criminal
monetary penalties is due during the period ofimprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons’ Inmate Financial Responsibility Program, are made to Clerk, U. S. District Court, Northern District of West Virginia, P.O.
Box 1518, Elkins, WV 26241.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



LI   Joint and Several

     Restitution is to be paid joint and several with other related cases convicted in Docket Number(s):




LI   The defendant shall pay the cost of prosecution.

LI   The defendant shall pay the following court cost(s):

LI   The defendant shall forfeit the defendant’s interest in the following property to the United States:

     Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
     fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
